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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE



 JONES, et al.

                 Plaintiffs,
         v.                                                  Case No. 2:20-cv-02892-SHL-tmp

 VARSITY BRANDS, LLC, et al.,

                 Defendants.



                         NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants hereby submit the Sixth Circuit’s decision in Fox v. Saginaw County, 67 F.4th

284 (6th Cir. 2023) (decided April 28, 2023) and the decision of the Eastern District of Michigan

in Norman v. FCA US, LLC, 2023 WL 6388926 (Sept. 30, 2023) as supplemental authority in

further support of their opposition to Plaintiffs’ motion for class certification (ECF No. 420).

       In Fox (attached as Exhibit A hereto), the Sixth Circuit vacated a class certification order

of the Eastern District of Michigan. Of particular relevance to ECF No. 420, in vacating class

certification, the Sixth Circuit held that a class may not be certified where the proposed

representative plaintiffs do not have standing to bring all of the claims that they seek to assert on

behalf of the class. Fox, at 292-300.

       In Norman (attached as Exhibit B hereto), citing the “clarification provided by Fox,” the

court held that a proposed class representative could not bring “claims based in the laws of states
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of which they have not been injured” and could not maintain a class action consisting of such

claims. Norman, at *7-*8.1

       Here, Plaintiffs allegedly indirectly purchased cheer competitions and cheer apparel in

Colorado and Kansas but seek to bring claims on behalf of purchasers in more than thirty other

states under the laws of those other states. The submitted cases are therefore of particular

relevance to Plaintiffs’ motion for class certification.



Dated: January 9, 2024                        Respectfully submitted,

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  Since Fox was decided, another district court in the Sixth Circuit declined to dismiss out-of-
state claims in a class action on standing grounds. See Generations Changers Church v. Church
Mutual Ins. Co., 2023 WL 6206152 (M.D. Tenn. Sept. 23, 2023). Although this decision was
issued after Fox was decided, the court did not consider the implications of Fox on the issue of a
proposed multi-state class where the proposed representative did not itself have standing under
several of the state laws at issue.
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